                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         DOCKET NO. 3:16-CV-695-FDW-DCK

 BARONIUS PRESS, LTD.,                                     )
                                                           )
                        Plaintiff,                         )
                                                           )
    v.                                                     )                 ORDER
                                                           )
 SAINT BENEDICT PRESS, LLC,                                )
                                                           )
                       Defendant.                          )


         THIS MATTER IS BEFORE THE COURT on “Plaintiff’s Motion To Compel

Defendant To Correct Designation Of Non-Sensitive, Non-Trade Secret Documents From

Attorneys’ Eyes Only To Confidential” (Document No. 61); “Defendant Saint Benedict Press,

LLC’s First Motion For Protective Order” (Document No. 68); and “Defendant’s Motion To

Compel Discovery (Document No. 78). These motions have been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motions and the record, the undersigned will grant in part and deny in part

the motions.

                                            BACKGROUND

         Baronius Press, Ltd (“Plaintiff”) initiated this action with the filing of its “Verified

Complaint” (Document No. 1) on September 29, 2016. Plaintiff “is a corporation organized and

existing under and by virtue of the laws of the Isle of Man, British Isles.” (Document No. 1, p. 1).

The Complaint alleges that Saint Benedict Press, LLC (“Defendant”), “organized and existing

under and by virtue of the laws of the State of North Carolina, doing business as TAN Books . . .

with a principal place of business in Charlotte, North Carolina,” has committed willful acts of




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copyright infringement. (Document No. 1, pp. 1-2). Plaintiff contends that it has “exclusive

licensing rights to publish an English translation of the German original work Grundriß der

katholischen Dogmatik, and has purchased the copyright to the English translation entitled

Fundamentals of Catholic Dogma. Id.

       This matter was originally assigned to the Honorable Graham C. Mullen on September 29,

2016. On November 1, 2018, the case was reassigned to the Honorable Frank D. Whitney.

(Document No. 87). Chief Judge Whitney issued an Order on November 5, 2018, re-setting case

deadlines and denying a pending motion for summary judgment. (Document No. 88).

       Plaintiff has amended the Complaint twice, most recently on November 14, 2018, when it

added multiple new claims of Copyright Act violations, along with claims for unfair and deceptive

trade practices. (Document No. 94); see also (Document No. 16).

       The pending discovery-related motions were all filed before this case was reassigned, and

before the filing of the “Second Amended Verified Complaint And Supplemental Pleading”

(Document No. 94). See (Document Nos. 61, 68, and 78). The pending discovery motions are

now ripe for review and disposition.

                                       STANDARD OF REVIEW

       Rule 26 of the Federal Rules of Civil Procedure provides that:

              Parties may obtain discovery regarding any nonprivileged matter
              that is relevant to any party’s claim or defense and proportional to
              the needs of the case, considering the importance of the issues at
              stake in the action, the amount in controversy, the parties’ relative
              access to relevant information, the parties’ resources, the importance
              of the discovery in resolving the issues, and whether the burden or
              expense of the proposed discovery outweighs its likely benefit.
              Information within this scope of discovery need not be admissible
              in evidence to be discoverable.




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Fed.R.Civ.P. 26(b)(1). The rules of discovery are to be accorded broad and liberal construction.

See Herbert v. Lando, 441 U.S. 153, 177 (1979); and Hickman v. Taylor, 329 U.S. 495, 507

(1947). Whether to grant or deny a motion to compel is generally left within a district court’s

broad discretion. See, Lone Star Steakhouse & Saloon, Inc. v. Alpha of Va., Inc., 43 F.3d 922,

929 (4th Cir. 1995) (denial of motions to compel reviewed on appeal for abuse of discretion);

Erdmann v. Preferred Research Inc., 852 F.2d 788, 792 (4th Cir. 1988) (noting District Court’s

substantial discretion in resolving motions to compel); and LaRouche v. National Broadcasting

Co., 780 F.2d 1134, 1139 (4th Cir. 1986) (same).

                                            DISCUSSION

A.     “Plaintiff’s Motion To Compel…”

       As an initial matter, the undersigned notes that Plaintiff apparently failed to request a

conference with the Court prior to filing its motion to compel as required by the “Pretrial Order

And Case Management Plan.” (Document No. 69, pp. 13-14; Document No. 77, p. 3); see also

(Document No. 29, p. 4; Document No. 88, pp. 3-4).

       By the instant motion, Plaintiff contends that Defendant has improperly designated certain

documents as “ATTORNEYS EYES ONLY” (“AEO”), that should be designated as

“CONFIDENTIAL.” (Document No. 61, p. 1). Plaintiff now seeks to compel the production of a

“draft of a typeset edition of Fundamentals of Catholic Dogma prepared by Defendant,” as well

as other documents, without the AEO designation. (Document No. 61, pp. 2-7). Plaintiff argues

that since it “owns the complete copyright in the work (Fundamentals),” it must be allowed access

to Defendant’s unpublished draft of the work. (Document No. 61, p. 4).

       “Defendant’s Response…” asserts that it has properly designated its unpublished re-

typesetting of Fundamentals of Catholic Dogma because it is confidential and proprietary business



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information that Plaintiff should not be allowed “to access and take advantage of.” (Document

No. 69, pp. 3-7). Defendant further asserts that it has properly produced customer emails with

customer names, customer contact information, wholesale customer pricing and wholesale

customer terms, under an AEO designation. (Document No. 69, p. 11).

       Based on the foregoing, the undersigned finds that “Plaintiff’s Motion To Compel…”

should be denied. Considering all the circumstances of this case, including the recent extension

of discovery deadlines and the Amended Complaint, the undersigned will deny the motion without

prejudice. The parties are respectfully directed to work together in good faith to resolve any

continuing or new discovery disputes. If those efforts fail, they may seek Court intervention as

outlined in the “Amended Case Management Order.” (Document No. 88).

B.     Defendant’s “…Motion For Protective Order”

       Defendant’s motion involves the same subject matter as Plaintiff’s motion to compel

discussed above. See (Document Nos. 61, 68, and 69). Specifically, Defendant seeks to re-

designate prior production of its “unpublished draft of the book Fundamentals of Catholic Dogma”

(SBPP-00650 – SBPP-01379) as AEO. (Document No. 68, p. 1). Plaintiff opposes Defendant’s

request, asserting that there should be no restrictions in presenting the re-typeset draft of

Fundamentals of Catholic Dogma into evidence because it shows Defendant’s willful infringement

and intent to continue to infringe Plaintiff’s copyrights. (Document No. 75).

       At this time, the undersigned is persuaded that Defendant’s motion should be granted, and

that the disputed draft of Fundamentals of Catholic Dogma should be designated as AEO. The

Court reserves the right to re-consider appropriateness of this designation at a later date.

C.     “Defendant’s Motion To Compel…”




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       “Defendant’s Motion To Compel Discovery” seeks full responses to its “Second Set of

Interrogatories and Requests for Production of Documents to Plaintiff Baronius Press, Ltd.”

(Document No. 78). Specifically, Defendant contends that Plaintiff has not fully responded to

Interrogatory No. 1 and Request for Production of Documents Nos. 4, 8, and 9. (Document No.

78, p. 2). In addition, Defendant seeks an unredacted version of an email produced by Plaintiff on

April 26, 2018. (Document No. 78, p. 2) (citing BP 00931).

       “Plaintiff’s Response…” suggests that it has provided the responsive documents it has,

and/or that it needs to review documents it expects Defendant to produce to more fully respond to

Defendant’s requests. (Document No. 89). See also (Document No. 79-12 and Document No. 89-

5). Plaintiff also notes that it has amended its redaction of the disputed email (BP 00931) in an

effort to satisfy Defendant’s request. (Document No. 89 p. 4).

       At this point, it is not entirely clear to the undersigned how many of the pending discovery

issues related to this motion have been resolved.        The undersigned generally agrees with

Defendant’s argument that Plaintiff should supplement its responses to the requests in question,

and that Plaintiff cannot refuse to respond to discovery because it contends Defendant has not

provided adequate responses. See (Document No. 79, p. 13). If Defendant is still unsatisfied with

Plaintiff’s redaction of BP 00931, the parties should further confer. The parties might consider

whether designating that email as “AEO” or “CONFIDENTIAL” will adequately address

Plaintiff’s concerns.

       In short, the undersigned finds that the motion should be granted to the extent Plaintiff has

additional information to supplement its previous responses. If Defendant still contends the

Plaintiff’s discovery responses are inadequate, the parties shall confer in good faith and in

accordance with the “Amended Case Management Order” (Document No. 88).



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                                     CONCLUSION

      IT IS, THEREFORE, ORDERED that “Plaintiff’s Motion To Compel Defendant To

Correct Designation Of Non-Sensitive, Non-Trade Secret Documents From Attorneys’ Eyes Only

To Confidential” (Document No. 61) is DENIED WITHOUT PREJUDICE.

      IT IS FURTHER ORDERED that “Defendant Saint Benedict Press, LLC’s First Motion

For Protective Order” (Document No. 68) is GRANTED.

      IT IS FURTHER ORDERED that “Defendant’s Motion To Compel Discovery

(Document No. 78) is GRANTED, as described herein.

      SO ORDERED.



                                 Signed: December 20, 2018




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